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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
  ____________________________________
                                       :
  JOHN DOE,                            :
                                       :
                    Plaintiff,         :
        v.                             : Civil Action No. 3:16-cv-4882-BRM-TJB
                                       :
  RIDER UNIVERSITY,                    :
                                       :                     ORDER
                    Defendant.         :
  ____________________________________:


         THIS MATTER is opened to the Court by Defendant Rider University’s (“Rider” or

  “Defendant”) Motion to Dismiss Counts III, IV, and V of Plaintiff John Doe’s (“Plaintiff”)

  Amended Complaint. (ECF No. 42.) Plaintiff opposes the Motion. (ECF No. 44.) Having reviewed

  the submissions filed in connection with the Motion and having declined to hold oral argument

  pursuant to Federal Rule of Civil Procedure 78(b), for the reasons set forth in the accompanying

  opinion and for good cause shown,

         IT IS on this 31st day of October 2018,

         ORDERED that Defendant’s Motion to Dismiss Plaintiff’s Count V as to his erroneous

  outcome and deliberate indifference theories claims is DENIED, and it is further

         ORDERED that Defendant’s Motion to Dismiss Plaintiff’s Count V claim as to his

  selective enforcement theory claim is GRANTED without prejudice; and it is further

         ORDERED that Defendant’s Motion to Dismiss Plaintiff’s Counts III and IV is

  GRANTED without prejudice, and it is finally
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          ORDERED that the Clerk shall seal the Opinion and that the parties shall file a

  consolidated motion to seal within 14 days of this Order.



                                                              /s/ Brian R. Martinotti__________
                                                              HON. BRIAN R. MARTINOTTI
                                                              UNITED STATES DISTRICT JUDGE




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